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                             UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION



SINA MOGHTADER,
                                                   §
        Plaintiff,                                 §
                                                   §
v.                                                 §         Civil Action No. SA-18-CV-00632-XR
                                                   §
GEO GROUP, INC., DOCTOR                            §
DEMPSEY GORDON, INDIVIDUALLY;                      §
DOCTOR MORGAN, INDIVIDUALLY;                       §
DOCTOR RODRIGUEZ,
INDIVIDUALLY; MARK MCPHERSON,                      §
INDIVIDUALLY; GRIEVANCE                            §
INSPECTOR J.I.E.,
INDIVIDUALLY; DETENTION
OFFICER BLAKE, INDIVIDUALLY;
AND DETENTION OFFICER
RANDOLPH, INDIVIDUALLY;

       Defendants.
     ORDER SETTING STATUS CONFERENCE AND HEARING ON ALL PENDING MOTIONS

       On this day the Court considered the status of this case. This case is set for a status conference
and hearing on all pending motions, if any, on Wednesday, November 07, 2018 at 10:00 AM. in
Courtroom Number 3, John H. Wood, Jr. United States Courthouse, 655 E. Cesar Chavez Blvd., San
Antonio, Texas 78206. The parties should be prepared to discuss all pending motions.

It is so ORDERED.


        SIGNED September 26, 2018.




                                     XAVIER RODRIGUEZ
                                     UNITED STATES DISTRICT JUDGE




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